Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 1 of 11




                     Exhibit A




                     Exhibit A
9/3/2020                                                            Civil Court Case Information - Case History
                      Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 2 of 11

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           Civil Court Case Information - Case History
       Case Information
       Case Number:      CV2020-009432                  Judge:        Arbitration 01 | McCoy
       File Date:        8/7/2020                       Location:    Downtown
       Case Type:        Civil


       Party Information
       Party Name                                                                       Relationship              Sex       Attorney
       Brandon T Reish                                                                  Plaintiff                 Male      Joshua Mayes
       Mrs Gooes Natural Food Markets Inc                                               Defendant                           Pro Per


       Case Documents
       Filing Date         Description                                                                        Docket Date              Filing Party
       8/19/2020           AFS - Affidavit Of Service                                                         8/21/2020
       NOTE: MRS GOOCHS NATURAL FOOD MARKETS INC
       8/7/2020            COM - Complaint                                                                    8/11/2020
       8/7/2020            CCS - Cerificate Arbitration - Subject To                                          8/11/2020
       8/7/2020            CSH - Coversheet                                                                   8/11/2020


       Case Calendar
       There are no calendar events on file


       Judgments
       There are no judgments on file




www.superiorcourt.maricopa.gov/docket/Civi ICourtCases/caselnfo.asp?caseNumber=CV2020-009432                                                          1/2
                                                                  Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 3 of 11
                                                                                                                                                    of i t-j”
                                                                                                                                             SIWiDR COURT
                                                                                                                                            RECEivEO OCC #4
                                                                                                                                            NIGHT DEPOSITORY
                                                             1                                                                            20 AUG-7 PH      2<
                                                                 J. Blake Mayes (No. 024159)
                                                                                                                                                 FILED
                                                                 MayesTelles PLLC
                                                             2   3636 North Central Avenue, Suite 1000                                     BY C, O’NEILL, DEP
                                                                 Phoenix, Arizona 85012-1927
                                                             3   Telephone: 602.714.7900
                                                                 Facsimile: 602.357.3037
                                                             4   courts @ mayestelles.com
                                                                 Attorneys for Plaintiffs                                              1^1
                                                             5
                                                             6                IN THE SUPERIOR COURT FOR THE STATE OF ARIZONA
                                                             7                            IN AND FOR THE COUNTY OF MARICOPA
                                                             8
                                                             9
                                                                 BRANDON T. REISH, an individual                No. CV 2020-009432
                                                                             Plaintiff,
                                                            10                                                  COMPLAINT
                    3636 NORTH CENTRAL AVENUE, SUITE 1000




                                                                                                                (Premises Liability)
                                                                 MRS GOOCH’S NATURAL FOOD
                          PHOENIX, ARIZONA 85012-1927




                                                            12   MARKETS INC. D/B/A WHOLE
M ayesTelles PLLC




                                                                 FOODS MARKET, a corporation; ABC
                                                            13   CORPORATION and/or
                                                                 PARTNERSHIPS, I-X, fictitious
                                                            14   entities, JOHN and JANE DOES I-X,
                                                                 fictitious individuals
                                                            15
                                                                         Defendants.
                                                            16
                                                            17          For his Complaint against Defendants, Plaintiff alleges as follows:
                                                            18                             PARTIES, JURISDICTION, AND VENUE
                                                            T9          1.       Plaintiff Brandon T. Reish (“Mr. Reish”) is domiciled and residing in Maricopa
                                                            20   County, Arizona.
                                                            21          2.       On information and belief. Defendant Mrs. Gooch’s Natural Food Market Inc,
                                                            22   d/b/a Whole Foods Market (“Defendant”) is a foreign corporation whose principal place of
                                                            23   business is in Austin, Texas.
                                                            24          3.        On information and belief. Defendant Mrs. Gooch’s Natural Food Market Inc,
                                                            25   d/b/a Whole Foods Market owns and operates several Whole Foods Market locations
                                                            26   throughout Maricopa County, Arizona.
                                                            27
                                                            28
                                                            Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 4 of 11




                                                       1            4.     Plaintiff is not currently aware of the true identities of ABC CORPORATION
                                                      2    and/or PARTNERSHIPS, I-X, or JOHN and JANE DOES I-X. When Plaintiff discovers

                                                       3   their true identities, she will amend his Complaint accordingly.
                                                      4             5.     This action arises out of injuries suffered by Plaintiff Brandon T. Reish while
                                                      5    he was on the property of the Defendant located at 4701 North 20th Street, Phoenix, Maricopa
                                                      6    County, Arizona 85016.

                                                       7            6.     Jurisdiction and venue are proper in this court.
                                                       8                 BACKGROUND ALLEGATIONS COMMON TO ALL COUNTS
                                                       9            7.     At all times relevant hereto, Defendant owned and Operated the property at
                                                      10 4701 North 20th Street, Phoenix, Arizona (“Store”).

                                                      11            8.     On August 8, 2018, Mr. Reish was lawfully entering the Store.
                         CENTRAL AVENUE, SUITE 1000
                     PHOENIX. ARIZONA 85012-1927




                                                      12            9.     Mr. Reish was entering the Store to purchase groceries and other items.
M ayesT elles PLLC




                                                      13            10.     As Mr. Reish entered thru the first set of the primary entrance doors, he slipped
                                                      14 on the wet floor and fell to the ground.
                                                      15            11.    After Mr. Reish landed on the floor, he realized that it was wet from the recent
                     .1636 NORTH




                                                      16   rains and that there were no floor mats at the first set of doors to negate the wet, slippery

                                                      17   floor.

                                                      18            12.    Mr. Reish then noticed that there were floor mats placed by the secondary
                                                      19   entrance doors as well as signs warning of the wet floor.

                                                      20            13.     The Defendant invited the general public, including Mr. Reish, to enter the

                                                      21   premises of the Store and to purchase various items from the Defendant.

                                                      22            14.    The Defendant was aware that patrons, including Mr. Reish, would walk thru
                                                           the main entrance of the store, and that the entrance was wet and hazardous partially as a

                                                      24   result of the rain.

                                                      25            15.     Mr. Reish was provided with no warning of this dangerous and concealed

                                                      26   condition in the Store.
                                                      27            16.     As a direct and proximate result of this incident, Mr. Reish suffered serious

                                                      28   bodily injuries.

                                                                                                             2
                                                          Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 5 of 11




                                                     1                                           COUNT ONE
                                                     2                                            (Negligence)
                                                     3          17.    Plaintiff incorporates herein by reference all allegations contained in his
                                                     4   Complaint as if stated herein again in full.

                                                     5          18.    The Defendant owed a duty to Plaintiff to maintain the Store in a reasonably
                                                     6   safe manner and to warn Plaintiff of any dangerous condition in the Store of which
                                                     7   Defendants had notice.

                                                     8          19.    The Defendant had notice of an unreasonably dangerous condition in the Store
                                                     9   that caused harm to Plaintiff.

                                                    10          20.    The Defendant breached his duty to Plaintiff by failing to warn Plaintiff and of
                                                    11   failing to use reasonable care to prevent harm to Plaintiff.
                       CENTRAL AVENUE. SUITE 1000
                   PHOENIX. ARIZONA 85012-1927




                                                    12          21.    As a direct and proximate result of Defendant’s conduct, Plaintiff suffered
MayesTelles PLLC




                                                    13   significant injuries requiring medical treatment.
                                                    14          22.    Plaintiff was injured and suffered damages in an amount to be proven at trial
                                                    15   including, but not limited to, medical bills, pain and suffering and emotional distress.
                   36.36 NORTH




                                                    16                                           COUNT TWO
                                                    17                                (Negligence - Mode of Operation)
                                                    18          23.    Plaintiff incorporates herein by reference all allegations contained in his
                                                    19   Complaint as if stated herein again in full.
                                                    20          24.    The Defendant, as owner and operator of the Store, owed a duty to Plaintiff to
                                                    21   exercise reasonable care to prevent harm resulting from Defendant’s method of operation.
                                                    22          25.    In breach of that duty, the Defendant adopted a method of operation from
                                                    23   which it could be reasonably anticipated that unreasonably dangerous conditions would
                                                    24   regularly arise and the Defendant failed to exercise reasonable care to prevent harm under
                                                    25   those circumstances.

                                                    26          26.    As a direct and proximate result of Defendant’s conduct. Plaintiff suffered
                                                    27   significant injuries required medical treatment for those injuries.

                                                    28

                                                                                                        3
                                                                  Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 6 of 11




                                                             1          27.    Plaintiff was injured and suffered damages in an amount to be proven at trial
                                                            2    including, but not limited to, medical bills, pain and suffering and emotional distress.
                                                            3                                      PRAYER FOR RELIEF
                                                            4           WHEREFORE, Plaintiff prays for relief against the

                                                             5   Defendant as follows:

                                                             6          A.     For judgment in his favor on all counts of his Complaint;
                                                            7           B.     For general and special damages in an amount to be proven at trial by jury;

                                                             8          C.     For his costs pursuant to A.R.S. § 12-341;

                                                            9           D.     For pre and post-judgment interest on the foregoing; and
                                                            10          E.     For such other and further relief as the Court deems just and proper under the

                                                            11   circumstances.
                   3636 NORTH CENTRAl. AVENUE, SUITE 1000
                         PHOENIX. ARIZONA 85012-1927




                                                            12
MayesTelles PLLC




                                                            13          DATED this 7th day of August, 2020.

                                                            14
                                                            15
                                                            16
                                                            17                                                  Attorneys for Plaintiffs
                                                            18
                                                            19
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                                                                      Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 7 of 11

                                                                                                                               clerk of the SUPERIOR COURT
                                                                                                                                          FILED     ,



                                                                                                                                      corNeADsiM^
                                                            1    J. Blake Mayes (No. 024159)
                                                                 MayesTelles PLLC
                                                            2    3636 North Central Avenue, Suite 1000
                                                                 Phoenix, Arizona 85012-1927
                                                            3    Telephone: 602.714.7900
                                                                 Facsimile: 602.357.3037
                                                            4    courts@mayestelles.com
                                                                 Attorneys for Plaintiff
                                                            5
                                                            6                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            7                            IN AND FOR THE COUNTY OF MARICOPA
                                                             8   BRANDON T. REISH, an individual               No.   CV 2 0 2 0 “ 0 0 9 4 3 2
                                                            9               Plaintiff,
                                                                                                               CERTIFICATE OF COMPULSORY
                                                            10   v.                                            ARBITRATION
                                                            11   MRS GOOCH’S NATURAL FOOD
                    3636 NORTH CENTRAL AVENUE, SUITE 1000




                                                                 MARKETS INC. D/B/A WHOLE
                          PHOENIX, ARIZONA 85012-1927




                                                            12   FOODS MARKET, a corporation; ABC
MayesT elles PLLC




                                                                 CORPORATION and/or
                                                            13   PARTNERSHIPS, I-X, fictitious
                                                                 entities, JOHN and JANE DOES I-X,
                                                            14   fictitious individuals
                                                            15               Defendants.
                                                            16
                                                                          Undersigned counsel for Plaintiff certifies that he knows the local rules governing
                                                            17
                                                                 compulsory arbitration and that this matter is subject to compulsory arbitration pursuant to
                                                            18
                                                                 the Uniform Rules of Procedure for Arbitration.
                                                            19
                                                                          DATED this 7th day of August 2020.
                                                            20
                                                                                                            MayesTelles PLLC
                                                            21
                                                            22
                                                            23
                                                                                                                Attorneys for Plaintiff
                                                            24
                                                            25
                                                            26
                                                            27
                                                            28
             Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 8 of 11
                                                                                                                  s fie.
In the Superior Court of the State of Arizona
                                                              -------------------------------------------
                                                                                                         RECti^   CC U4
In and For the County of Maric°pa               ;                                                                 •it OR'*
                                                              Is Interpreter Needed? |     [ Yes           No
                   CV2020-00^462                                                                   20 AUG -7 PH            i8
Case Number                                                    If yes, what language(s):
                                                                                                           FILED
                                                                                                     BY C. O’NEILL, P EP
CIVIL COVER SHEET- NEW FILING ONLY
         (Please Type or Print)


Plaintiffs Attorney 1 Blake Mayes

Attorney Bar Number024159



Plaintiffs Name(s): (List all)        Plaintiffs Address:                          Phone #:              Email Address:
Brandon T. Reish




(List additional Plaintiffs on page two andtor attach a separate sheet).



Defendant's Name(s): (List All)
Mrs. Gooch's Natural Food Markets Inc. D/B/A Whole Foods Market




(List additional Defendants on page two and/or attach a separate sheet)




                     RULE 26.2 DISCOVERY TIER OR MONETARY RELIEF CLAIMED:
 IMPORTANT: Any case category that has an asterisk (*) MUST have a dollar amount claimed
or Tier selected. State the monetary amount in controversy or place an “X” next to the discovery tier
               to which the pleadings allege the case would belong under Rule 26.2.


I    | Amount Claimed $                                     1X1 Tier 1     □ Tier 2        □ Tier 3




                                                    NATURE OF ACTION
    Place an “X” next to the one case category that most accurately describes your primary case. Any
    case category that has an asterisk (*) MUST have a dollar amount claimed or Tier selected as
                                           indicated above.


100 TORT MOTOR VEHICLE:
                                                                    □l02 Property Damage*
□l01 Non-Death/Personal Injury*
                                                                    □l03 Wrongful Death*

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                                                                                                    Case No..

110 TORT NON-MOTOR VEHICLE:                                      I     1158 Quiet Title*
                                                                 Ql60 Forfeiture*
I     |l 11 Negligence*
                                                                 Qi75 Election Challenge
I     jl 12 Product Liability - Asbestos*
                                                                 Ql79 NCC-Employer Sanction Action (A.R.S. §23-212)
I     |l 12 Product Liability - Tobacco*
                                                                 Ql80 Injunction against Workplace Harassment
I     |l 12 Product Liability - Toxic/Other*
                                                                 Ql81 Injunction against Harassment
I     |l 13 Intentional Tort*
                                                                 Ql82 Civil Penalty
I     1114 Property Damage*
                                                                 Qi86 Water Rights (Not General Stream Adjudication)*
I     |l 15 Legal Malpractice*
                                                                 Qi 87 Real Property *
I     |l 15 Malpractice - Other professional*
                                                                 I     I Special Action against Lower Courts
|X|l 17 Premises Liability*
                                                                   (See Lower Court Appeal cover sheet in Maricopa)
I     |l 18 Slander/Libel/Defamation*
                                                                 Ql94 Immigration Enforcement Challenge
I     |l 16 Other (Specify)’
                                                                        (A.R.S. §§1-501,1-502, 11-1051)

120 MEDICAL MALPRACTICE:                                         150-199 UNCLASSIFIED CIVIL:

[2]l21 Physician M.D.*                         Hospital*         I     I Administrative Review
|2Jl22 Physician D.O*                Qi 24 Other*                  (See Lower Court Appeal cover sheet in Maricopa)
                                                                 Ql50 Tax Appeal
130 & 197 CONTRACTS:                                                    (All other tax matters must be filed in the AZ Tax
                                                                         Court)
I     |l31 Account (Open or Stated)*
                                                                 I     |l 55 Declaratory Judgment
I     |l32 Promissory Note*
                                                                 Ql57 Habeas Corpus
Ql33 Foreclosure*
                                                                 Qi 84 Landtord Tenant Dispute - Other*
I     11 38 Buyer-Plaintiff*
                                                                 Ql90 Declaration of Factual Innocence (A.R.S. §12-771)
Ql39 Fraud*
                                                                 Ql91 Declaration of Factual Improper Party Status
I     |l 34 Other Contract (i.e. Breach of Contract)*
                                                                 Ql93 Vulnerable Adult (A.R.S. §46-451)*
Qi 35 Excess Proceeds-Sale*
                                                                 Q165 Tribal Judgment
I     I Construction Defects (Residential/Commercial)*
                                                                 Ql67 Structured Settlement (A.R.S. §12-2901)
           Qi36 Six to Nineteen Structures*
                                                                 Ql69 Attorney Conservatorships (State Bar)
           Ql37 Twenty or More Structures*
                                                                 Qi 70 Unauthorized Practice of Law (State Bar)
Ql97 Credit Card Debt (Maricopa County Only)*
                                                                 Ql71 Out-of-State Deposition for Foreign Jurisdiction

                                                                 Ql72 Secure Attendance of Prisoner
150-199 OTHER CIVIL CASE TYPES:
                                                                 Ql73 Assurance of Discontinuance
Ql56 Eminent Domain/Condemnation*                                Qi74 In-State Deposition for Foreign Jurisdiction
Ql51 Eviction Actions (Forcible and Special Detainers)*          Ql76 Eminent Domain- Light Rail Only*
Q152 Change of Name                                              Ql77 Interpleader-Automobile Only*
    _ |l 53 Transcript of Judgment                               Ql78 Delayed Birth Certificate (A.R.S. §36-333.03)
      |l 54 Foreign Judgment                                         Ql83 Employment Dispute- Discrimination*



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                Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 10 of 11
                                                                                                   Case No.



Qi 85 Employment Dispute-Other*                                             Ql63 Other*
Ql96 Verified Rule 45.2 Petition
                                                                                           (Specify)
I     11 95(a) Amendment of Marriage License

I     [l 95(b) Amendment of Birth Certificate




                                                  EMERGENCY ORDER SOUGHT

i     I Temporary Restraining Order           i      I Provisional Remedy          □ osc               I   I Election Challenge

r~l Employer Sanction                         I      i Other (Specify)




                                       COMMERCIAL COURT (Maricopa County Only)


Qlhis case is eligible for the Commercial Court under Rule 8.1, and Plaintiff requests assignment of this case to the

       Commercial Court. More information on the Commercial Court, including the most recent forms, are available on the
        Court’s website at:

                     https://www.superiorcourt.maricopa.qov/commercial-court/.




Additional Plaintiffs):




Additional Defendant(s):




    © Superior Court of Arizona in Maricopa County                   Page 3 of 3                            CV10f-010119
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Case 2:20-cv-01738-DWL Document 1-1 Filed 09/04/20 Page 11 of 11
Keith Blanchard                                                 CLERK OF THE
P.O. Box 4552                                                 SUPERiOR COURT
                                                              fcf&IVED CC3 #2
Scottsdale, Arizona 85261                                   DOCLJ:M"L:T rE’T SSTORY
602-488-9762
                                                           2020 AUG 19 PM 2:55
             IN THE SUPERIOR COURT OF THE STATE OF ARIZONA                                    CRUZ, DEP

                     IN AND FOR THE COUNTY OF MARICOPA

BRANDON T. REISH, an individual,

                       Plaintiff,
                                                            Case No.: CV2020-009432
       vs.
                                                            Certificate of Service
MRS. GOOCH’S NATURAL FOOD
MARKETS, INC., D/B/A WHOLE FOOD
MARKETS, a corporation, et al,

                       Defendants.

Keith Blanchard, being duly sworn states: I am qualified to serve process in this cause,
appointed by the Superior Court in Maricopa County. I swear under the penalty of
perjury that the following is true and accurate. I received the following documents in this
action: Suntunons, Complaint, Certificate of Compulsory Arbitration from J. Blake Mayes
(024159) of MayesTelles, PLLC., on August 14,2020 and in each instance, I served a
copy of each documents listed above on those named below in the manner, time and
place shown:

Service upon: Mrs. Gooch’s Natural Food Markets, Inc., dba Whole Foods Markets,
by leaving one true copy of the above documents with Scott Whaley, Agent for Statutory
Agent CT Corporation Systems (White male, 30’s, 5’ 10”, 170 lbs., short brown hair)
authorized to accept service at its usual place of business. Service effected at 3800 N.
Central Avenue, Suite 460, Phoenix, AZ 85012. Document served on August 17,2020 at
1:06 p.m.

I declare under penalty of peijury that the forgoing is true, correct and executed on this
date: August 17,2020,




                                                      $    16.00    Service
                                                      $24.00 (min) Mileage
                                                      $    10.00    Processing Fee
                                                      $    50.00    Total
